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   10 GOLDCO DIRECT, LLC

   11
                          UNITED STATES DISTRICT COURT
   12

   13                   CENTRAL DISTRICT OF CALIFORNIA

   14

   15   JODI JUDSON, individually and on Case No.: 2:19-cv-06798-PSG-PLA
   16   behalf of all others similarly
        situated,                        CLASS ACTION
   17

   18                     Plaintiff          NOTICE OF SETTLEMENT

   19   v.
   20
        GOLDCO DIRECT LLC, a                Complaint filed: August 6, 2019
   21   Delaware limited liability company, Trial Date: November 17, 2020
   22
                          Defendants
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                                      NOTICE OF SETTLEMENT
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    1                                NOTICE OF SETTLEMENT
    2         NOTICE IS HEREBY GIVEN that the parties in the above-captioned case
    3   have reached a settlement of the above-entitled action, and will file a Motion for
    4   Preliminary Approval of Settlement upon completion of a long-form settlement
    5   agreement.
    6

    7   Dated: October 16, 2020                   LARSON O’BRIEN LLP
    8
                                               By: /s/ Paul A. Rigali
    9                                            STEPHEN G. LARSON
                                                 PAUL A. RIGALI
   10                                            DANIEL R. LAHANA
   11                                             Attorneys for Defendant
                                                  GOLDCO DIRECT, LLC
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                                       NOTICE OF SETTLEMENT
